                       UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF NEW MEXICO

In re:
DOROTHY MARIE BYRD,
       Debtor(s)                                                      No. 18-11852-t7

               CHAPTER 7 TRUSTEE’S APPLICATION TO
             RETAIN BK GLOBAL REAL ESTATE SERVICES
    TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. § 327


       COMES NOW the Chapter 7 Trustee, Philip Montoya, and pursuant to 11 U.S.C.

§ 327, states as follows:

       1.     Philip Montoya, is the duly qualified and acting Chapter 7 Trustee of the

bankruptcy estate of Dorothy Byrd.

       2.     An asset of the bankruptcy estate is real property located at 10516 Towner

Ave NE Albuquerque, NM 87112, and which is legally described as follows:

            Parcel Number: 1-021-059-248-229-3-18-15
            Census Tract: 350010001.151004
            Carrier Route: C018
            Abbreviated Description: * 017 111SNOW HEIGHTS

This real property will be hereinafter referred to as the “Real Property”.

       3.     The Debtor has not claimed the Real Property as exempt.

       4.     The Debtor(s) listed the Real Property on their schedules as having a value

of $160,000.00.

       5.     The Real Property is subject to the following mortgage(s) or lien(s):


              a. First Mortgage Holder: Mr. Cooper in an amount exceeding $146,667.86;




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              b. Second Mortgage Holder: Wells Fargo Home Mortgage in an amount

                   exceeding $15,384.00


       6.     Based upon the market value of the Real Property provided by the

Debtor(s), the combined first and second mortgage debt is in excess of the market value

of the Real Property.


       7.     The Handbook for Chapter 7 Trustees published by the Executive Office of

the United States Trustee, states on pages 4 – 14 under Section 9 “Sales of Assets” (a)

General Standards “A trustee may sell assets only if the sale will result in a meaningful

distribution to creditors. The Section further states “the trustee may seek a “carve-out”

from a secured creditor and sell the property at issue if the “carve-out” will result in a

meaningful distribution to creditors. Further, the Section states “The trustee must also

consider whether the cost of administration or tax consequences of any sale would

significantly erode or exhaust the estate’s equity interest in the asset.”


       8.     BK Global Real Estate Services (“BK Global”) provides services to trustees

as BK Global has expertise and experience in assisting the trustee in negotiating with

secured creditors to accomplish the following:


              a.      Sell the Real Property under 11 U.S.C. § 363(b) to whichever party

       the Chapter 7 Trustee determines to have made the best qualified offer with the

       sale approved by the Court, pursuant to 11 U.S.C. § 363;




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             b.     Obtain the release of the senior mortgage and waive all of its claims

      against the estate with respect to the Real Property (including any deficiency

      claims resulting from the proposed sale);


             c.     Work with the secured mortgage holder to enter into an agreement

      for an 11 U.S.C. § 506 surcharge to pay all of the closing expenses associated with

      the § 363 sale, including the payment of a six percent (6%) real estate brokerage

      commission and reimbursement of their out-of-pocket expenses to BK Global and

      any associated real estate professional, paid from the proceeds of the sale, and

      provide a meaningful carve out for the benefit of allowed unsecured creditors of

      the Debtor(s)’ estate; and


             d.      Make certain the amount of the carve out is clearly set out in the

      motion to sell the Real Property pursuant to 11 U.S.C. § 363.


      9.     BK Global will assist the Chapter 7 trustee in negotiations with the first

mortgage holder to obtain the consent of the first mortgage holder for the sale of the Real

Property. A carve out from the sale proceeds of the Real Property for the payment of a

six percent (6%) real estate commission to BK Global and any associated real estate

professional, and a carve out from the sale proceeds, such amount for the benefit of

unsecured creditors of the bankruptcy estate, which will result in a meaningful

distribution to the creditors, and upon a successful resolution with the secured creditor,

a separate motion will be filed seeking approval of the settlement terms and conditions.




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       10.    BK Global will not be entitled to any fees if the first mortgage holder does

not grant its consent or the Court does not grant the motion to approve the sale of the

Real Property.


       11.    In no event will the bankruptcy estate have any obligation to pay BK Global

or associated real estate professional for their services, or to pay the customary title and

closing services. The terms of the listing agreement and this Application provide that BK

Global and listing agent are only entitled to payment if and when (a) secured creditor

grants its consent, (b) the motion to approve sale is granted and (c) the Real Property is

sold, in which event BK Global and listing agent will receive a six percent (6%) real estate

brokerage commission and obtain reimbursement of any out-of-pocket expenses.


       12.    The trustee believes that the highest and best value for the Real Property

will be generated through a sale in which the Real Property is widely marketed to the

public and offered at the highest price that the market will bear. The Trustee further

believes that such a sale is in the best interest of the Debtor(s)’ bankruptcy estate, but can

only be achieved if the secured creditor’s consent is first obtained. The Chapter 7 trustee

believes that retaining BK Global and/or an associated real estate professional to obtain

the secured creditor’s consent is in the best interest of the Debtor(s)’ bankruptcy estate.


       13.    The trustee submits that the terms of employment and compensation as set

out in this application and the listing agreement (Exhibit “A”), are reasonable in light of

the extensive experience of BK Global and any associated real estate professional, and the

nature of the services they provide.




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       14.    BK Global attested that it is a disinterested person within the meaning of

Section 101(14) of the Bankruptcy Code and Federal Rule of Bankruptcy Procedure 2014

and 2016(a). Attached hereto as Exhibit “B” is an Affidavit of Disinterestedness of BK

Global. BK Global also attests, pursuant to Bankruptcy Rule 2016, that it shall not split

or share its fee with any individual or entity other than listing agent or a buyer’s agent, if

applicable.


       WHEREFORE, based upon the foregoing, the Chapter 7 trustee seeks the Court’s

authority to retain BK Global in this case and requests that the Court approve the

compensation arrangements set forth in the listing agreement and this application,

pursuant to Sections 327, 328(a) and 330 of the Bankruptcy Code; and for such other and

further relief as the Court determines is appropriate.


                                                  Respectfully submitted:

                                                  s/Filed electronically
                                                  Philip J. Montoya
                                                  Counsel for Trustee
                                                  1122 Central Avenue, SW, Suite 3
                                                  Albuquerque, NM 87102
                                                  (505) 244-1152
                                                  pmontoya@swcp.com
 In accordance with NM LBR 9036-1
 and Fed. R. Civ. P. 5(b)(2)(D), this
 certifies that service of the foregoing
 document was made this 21st day of
 November, 2018, via the notice
 transmission facilities of the case
 management and electronic filing
 system of the Bankruptcy Court.

 s/Filed electronically
 Philip J. Montoya



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                                                 EXHIBIT A


                         BK Global Real Estate Brokerage Listing Agreement

This Real Estate Brokerage Listing Agreement (“Agreement”) is between

Philip Montoya (“TRUSTEE”) and BK Global Real Estate Services LLC (“BROKER”)

Authority to Sell Property: Trustee gives Broker the right to be the EXCLUSIVE BROKER in the sale
of the real and personal property (collectively “Property”) described below:

10516 Towner Ave NE Albuquerque, NM 87112

Upon full execution of a contract for sale and purchase of the Property and court approval, all rights and
obligations of this Agreement will automatically extend through the date of the actual closing of the sales
contract. Trustee and Broker acknowledge that this Agreement does not guarantee a sale. This Property
will be offered to any person without regard to race, color, religion, sex, handicap, familial status, national
origin, or any other factor protected by federal, state, or local law. Trustee certifies and represents that
she/he/it is legally entitled to convey the Property and all improvements.

Price: The starting listing price of the property will be: $149,900.00. If there are no acceptable offers
after 15 days, the list price will be reduced 5% and will reoccur every 15 days until the listing expires or if
an acceptable offer is received.

Brokers Obligations: Broker will assist the Trustee to make commercially reasonable efforts to procure
the consent and agreement of the senior mortgagee (“Secured Creditor”) to:

    a) Sell the Property under 11 U.S.C. § 363(b) to whichever third party you determine to have made
       the best qualified offer during a public sale approved by the court or agree to 11 U.S.C. § 363(k)
       and place a credit bid on the Property from the estate;

    b) Release its lien with respect to the Property; and

    c) Agree to a 11 U.S.C. § 506 surcharge to (x) pay our fee and expenses, any commission payable to
       the local real estate broker and all other fees and expenses associated with the sale, and
       (y) provide a carve-out for the benefit of allowed unsecured creditors of the estate.

Brokers Duties: Broker duties will include but will not be limited to the following service:

       Researching the real estate, running title and lien searches to identify creditors for resolution and any
        title issues.
       Advising the trustee of any issues and discuss potential resolutions.
       Conducting the resolutions under the trustee’s direction.
       Assisting the trustee in the collection of documents and information for employment.



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       Making and identifying the correct contact with the secured creditors.
       Notifying the secured creditor of the upcoming sale and identifying servicer requirements.
       Assisting the trustee in establishing market value and negotiating with the Servicer an acceptable
        sales price and establishing a carve-out.
       Development of online marketing, email campaign and full nationwide marketing services.
       Conducting an online sale.
       Use of the BK Global technology platform.
       Assist the trustee in the review of all offers and coordinate the final documentation of the offer
        accepted by the trustee.
       Managing contract requirements such as inspections, appraisals and HOA applications.
       Coordinating closings and assisting the trustee in the collection of required information for court
        filing.
       Closing the transaction and ensure the estate has received the appropriate funds.

Local Listing Brokers Obligations: Broker will select a Local Listing Broker to co-list the property
and provide limited services. Trustee will retain both Broker and the Local Listing Broker to market
the Property for sale to the public under a separate listing agreement.

Local Listing Brokers Duties: Local Listing Brokers duties will include but will not be limited to the
following services;

       Inspecting the property and completing a broker’s price opinion.
       Listing the property in the multiple listing service (MLS).
       Posting a for sale sign in the yard and coordinating showings.

Trustee Obligations: In consideration of Broker’s obligations, Trustee agrees to:

    a) Cooperate with Broker in carrying out the purpose of this Agreement
    b) Provide Broker with keys to the Property and make the Property available for Broker to show
       during reasonable times.
    c) File all court motions and documents in a timely manner to ensure a successful sale.
    d) Advise Broker of any special issues our court requirements.

Compensation: 6% Real Estate Commission will be paid out of the proceeds off the sale and is due and
paid at closing. The commission will cover the costs of the Broker, Local Listing Broker and Buyers
Broker. The commission will be paid as follows:

       2% Broker
       2% Local Listing Broker
       2% Buyers Broker

Term of Agreement: The term of this Agreement will commence when signed by the Trustee and the
court approves it. This Agreement will automatically terminate upon the closing of the sale of the
Property, or it may be terminated by either party for any or no reason after 180 days from
commencement. In addition, this Agreement will be terminated if the Trustee files a Report of No




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                       Exhibit B




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